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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                  Criminal No. 11-305(22)(DSD/LIB)


United States of America,

                 Plaintiff,

v.                                                             ORDER

Caine Ramus Starks,

                 Defendant.


     Andrew S. Dunne, United States Attorney’s Office, 300 South 4th
     Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     Caine Ramus Starks, #16078-041, USP-Marion, P.O. Box 1000,
     Marion, IL 62959, defendant pro se.



     This matter is before the Court on two motions of defendant

Caine Ramus Starks.     First, Starks requests permission to appeal

the court’s previous order denying a reduction in sentence under 18

U.S.C. § 3582(c)(2). That request is unnecessary. Starks need not

obtain a certificate of appealability or otherwise seek permission

from this court in order to appeal the denial of his earlier motion

for a reduction in sentence.         Accordingly, Starks’s motion for

permission to appeal is denied as moot.1

     Second,   Starks   requests    permission     to   file     a     second   or

successive motion challenging his sentence under 28 U.S.C. § 2255.


     1
        In his motion, Starks also requests appointment of counsel
for any appellate proceedings. Starks may direct his request to
the Eighth Circuit Court of Appeals upon filing a notice of appeal.
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See 28 U.S.C. § 2255(h).           Starks has never previously filed a

motion for relief under § 2255 in these proceedings.                   Thus, if

Starks files a motion under § 2255, that motion will be a first

motion for relief under § 2255, not a second or successive motion.

No permission from any court is needed to file a first motion for

relief under § 2255.      Accordingly, this request is also denied as

moot.2

                                   CONCLUSION

      Based on the foregoing, and on all of the files, records, and

proceedings herein, IT IS HEREBY ORDERED that:

      1.     The motion to appeal [ECF No. 1280] is denied as moot;

and

      2.     The motion to file a second or successive motion for

relief under 28 U.S.C. § 2255 [ECF No. 1330] is denied as moot.



Dated:     May 6, 2016


                                          s/David S. Doty
                                          David S. Doty, Judge
                                          United States District Court




      2
        To be clear, Starks may seek relief under § 2255 despite
the denial of his motion.
